             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                        CIVIL NO. 3:06CV293-03-T
                             (3:02CR156-2-T)


MACY WALKER MCLEAN,                      )
                                         )
                 Petitioner,             )
                                         )
           v.                            )     MEMORANDUM AND
                                         )        ORDER
UNITED STATES OF AMERICA,                )
                                         )
              Respondent.                )
______________________________           )


     THIS MATTER is before the Court on Petitioner’s motion to vacate,

set aside or correct sentence pursuant to 28 U.S.C. § 2255 and supporting

memorandum1 filed July 17, 2006; Respondent’s answer and motion for

summary judgment filed July 11, 2007; Petitioner’s opposition to the

Government’s motion for summary judgment filed August 20, 2007, and

accompanying exhibits; Petitioner’s memorandum in support of her motion

to vacate filed October 6, 2008; and Respondent’s amended answer to

Petitioner’s motion to vacate filed August 14, 2009.

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        Petitioner also filed a motion to proceed in forma pauperis.
Because there is no filing fee required for a § 2255 proceeding, this motion
will be denied as moot.


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               I. FACTUAL AND PROCEDURAL HISTORY

     On September 13, 2002, Petitioner and six co-defendants were

charged in a 66-count superseding bill of indictment in a wide ranging

scheme to defraud investors in the secondary mortgage market by creating

and selling bogus mortgage loans. Superseding Bill of Indictment, filed

September 13, 2002. McLean and retained counsel, Claire Rauscher,2

proceeded to trial on November 12, 2002. After a nine-day trial, the jury

found McLean guilty on all objects of the conspiracy charged in Count One

and all remaining substantive counts of the indictment except Counts 33

through 36. Verdict Sheet, filed November 22, 2002.

     McLean’s presentence report calculated her base offense level as 36

and a criminal history category I. Petitioner received a two-level downward

departure for her substantial assistance in the prosecution of First

Beneficial Mortgage Corporation’s (“FBMC”) former accountant. See

Government’s Motion for Downward Departure, filed November 21,

2003. McLean received an additional two-level downward departure for



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       Rauscher was retained by McLean during the proceedings before
this Court, but was later court appointed to represent her on appeal.
Exhibit 1, Affidavit of Claire J. Rauscher, attached to Respondent’s
Answer to Petitioner’s Motion, filed July 11, 2007.


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unusual family circumstances based on her minor children with disabilities,

which yielded a total offense level of 32 with a sentencing range of 121 to

152 months. On November 24, 2003, this Court sentenced the Petitioner

to a term of 126 months imprisonment. Judgment in a Criminal Case,

filed December 9, 2003.

      Petitioner filed a timely notice of appeal on November 25, 2003.

Petitioner’s appeal was consolidated by the Fourth Circuit Court of Appeals

with that of her husband and co-defendant James McLean, and co-

defendants Paul and Debbie Zimmerman. Fourth Circuit Order, filed

January 9, 2004.

      On September 2, 2004, the appellants filed a consolidated brief

outlining ten issues, including: sufficiency of the evidence (issue I); the

Court’s failure to admit certain evidence of McLean’s “extensive family

responsibilities” (issue II); the Court’s “willful blindness” instruction (issue

III); the Court’s failure to give a “good faith” instruction with respect to the

false mortgage note counts (issue IV); the Court’s failure to give a

“reliance” instruction (issue V); the Court’s use of the mandatory Federal

Sentencing Guidelines in light of the United States Supreme Court’s then

recent opinion in Blakley v. Washington, 542 U.S. 296 (2004) (issue VI);



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and various issues related to the application of the Federal Sentencing

Guidelines (issues VII - X).

      The appellants’ consolidated brief included a common statement of

the case as well as their individual statement of facts. Petitioner’s

statement discussed her role as James McLean’s wife, the mother of his

six children and her “limited” duties at FBMC. Her attorney highlighted

testimony from the trial which showed that Petitioner handled mainly

payroll and funded loans, had no decision-making authority at FBMC, and

generally played a support role to her husband. Petitioner’s attorney also

attempted to distinguish Petitioner from her husband, but conceded the

evidence at trial established that James McLean did not have Fannie Mae

or Ginnie Mae authority to sell loans by “investors” and secured by vacant

lots. However, she vigorously argued that the Government failed to show

that Macy McLean had any direct knowledge that her husband’s activity

was illegal. Moreover, counsel argued that this Court erred when it

sustained the Government’s objection to her cross-examination of James

McLean when she attempted to elicit testimony concerning the nature of

the McLean’s daughters’ disabilities.




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      After hearing oral argument in February 2005, the Fourth Circuit

issued its per curiam opinion on May 2, 2005, affirming the convictions of

all appellants, including Petitioner, but vacated and remanded the cases

for resentencing in light of the Supreme Court’s decision in United States v.

Booker, 543 U.S. 220 (2005). United States v. McLean, 131 F. App’x 34,

41 (4th Cir. 2005). The Court specifically rejected Petitioner’s argument

that this Court’s “willful blindness” instruction was improper or that the

evidence was insufficient to show that she “‘knowingly or intentionally

attempt[ed] to defraud Fannie Mae, Ginnie Mae or BB&T;’ that she did not

‘knowingly make false entries, [or] false statements;’ or that she did not

‘knowingly launder money’ or ‘aid or abet others in any criminal activity.’”

Id. at 39 (quoting Appellants’ Brief at 29). With respect to Petitioner’s

sufficiency of the evidence arguments, the Fourth Circuit observed:

      Macy took the position that she had no real input into how
      FBMC was run, that her husband exercised substantial control
      over her employment activities, and that she merely followed
      his directives. The evidence, however, showed that Macy was
      an officer of FBMC; that she was in charge of payroll and loan
      funding; that she handled questions from FBMC’s document
      custodian for the Ginnie Mae mortgage notes; that she created
      the bogus mortgage notes; that she told “investors” that they
      would not have to pay money on the notes they signed; that
      she endorsed the notes over to Fannie Mae; and that she
      offered a former FBMC employee $5,000 to use her son’s
      name on a mortgage loan.


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Id. The Fourth Circuit also sustained this Court’s ruling to exclude details

of the McLeans’ children’s disabilities and found that there was “ample

evidence for a reasonable trier of fact to have found defendants guilty

beyond a reasonable doubt on each count of conviction.” Id. at 40-41.

      Petitioner appeared with the same trial counsel for resentencing on

July 27, 2005. Prior to the hearing, counsel filed a detailed sentencing

memorandum on Petitioner’s behalf, analyzing each of the § 3553(a)

factors in terms of this case in order to justify her requested variance from

the Guidelines. Sentencing Memorandum, filed July 26, 2005. The

memorandum included affidavits in support of Petitioner as well as

numerous certificates demonstrating her efforts to improve herself while in

prison.

      Counsel’s arguments on behalf of Petitioner persuaded the Court to

vary from the Sentencing Guidelines and impose a sentence of 96 months

imprisonment, instead of the prior sentence of 126 months – 30 months

less than her previous sentence and a 25-month downward variance from

the lowest applicable Guidelines range. Amended Judgment in a

Criminal Case, filed August 5, 2005.




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      Petitioner did not appeal her amended sentence. She timely filed her

§ 2255 motion herein on July 17, 2006, and moved to amend the motion

with an “Amendment to Ground No. 2" and an affidavit from James

McLean. The Respondent did not oppose Petitioner’s motion to amend.

Petitioner lists 23 “grounds” on which her convictions and sentences

should be vacated. These grounds allege defects in the indictment

(“constructive amendment,” duplicity and multiplicity), insufficiency of the

evidence, prosecutorial misconduct and ineffective assistance of counsel.

However, all grounds except one – ground # 22 alleging prosecutorial

misconduct, are couched in terms of ineffective assistance of counsel.

Petitioner’s ground # 23 alleging ineffective assistance of counsel, re-

alleges the prior 22 grounds in addition to other perceived errors by

counsel. On October 6, 2008, Petitioner filed a memorandum in support of

her motion to vacate in which she adds the additional claim that her

counsel was ineffective for failing to argue that she was legally innocent of

the money laundering offenses in light of the Supreme Court decision in

United States v. Santos, 128 S. Ct. 2020 (2008).




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                         II. STANDARD OF REVIEW

      Pursuant to Federal Rule of Civil Procedure 56(c), a Court may grant

summary judgment when the pleadings and other relevant documents

reveal that “there is not genuine issue as to any material fact and . . . the

moving party is entitled to a judgment as a matter of law.” See, e.g.

Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986); Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 252 (1986); Matsushita Elec. Indus.

Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986); Miller v. Leathers,

913 F.2d 1085, 1087 (4th Cir. 1990).

      A genuine issues exists only if “the evidence is such that a

reasonable jury could return a verdict for the on-moving party.” Anderson,

477 U.S. at 248. However, the party opposing summary judgment may not

rest upon mere allegations or denials and, in any event, a “mere scintilla of

evidence” is insufficient to overcome summary judgment.” Id. at 249-50.



                               III. ANALYSIS

      Petitioner alleges a number of claims against her attorney which she

argues deprived her of her constitutional right to the effective assistance of




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counsel.3 Motion to Vacate, at 41 - 47. These errors can be categorized

as follows:

      A. Failure to object at trial and on direct appeal to the “constructive

amendment” of the indictment (ground # 23, ¶ 1; also alleged in ground #’s

1-2, 5-10);

      B. Failure to object at trial and on direct appeal to defects in the

indictment (ground #23, ¶ 2; also alleged as “constructive amendments of

the indictment” in ground #’s 1,5, 8-10);

      C. Failure to raise at trial and on direct appeal that certain counts in

the indictment were multiplicious (ground #23, ¶ 3; also alleged in ground

#’s 11 and 12);

      D. Failure to object at trial and on direct appeal that counts 11-21,

22-32, 33-36, and 37-52 were duplicitous (ground #23, ¶ 16; also alleged in

ground #’s 3-4, 19);

      E. Complaints concerning trial presentation, strategy and argument,

including:


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       Apparently recognizing that 22 of her 23 grounds to vacate her
conviction would be barred because they were not raised or could have
been raised on direct appeal, Petitioner couches them as ineffective
assistance of counsel claims. Therefore, this Court will limit its analysis on
Petitioner’s claims as ineffective assistance of counsel claims.


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      1. Failure to present FBMC’s HUD application and approval to issue

Title I manufactured home loan guarantees (ground #23, ¶ 5);

      2. Failure to present a business plan and loan request that FBMC

submitted to BB&T (ground 23, ¶ 6);

      3. Failure to impeach former FBMC employee Sharon Abrams with

evidence that she had access to HUD manuals, regulations and forms via

the Internet (ground #23, ¶ 7);

      4. Failure to impeach former FBMC underwriter and co-defendant

Richiedean Gess with the statements of former FBMC employee Keith

Jeffries and other FBMC underwriters who had approved FBMC’s

“construction loan program” and to call Keith Jeffries as a defense witness

at trial (ground #23, ¶¶ 8 & 18);

      5. Failure to “rebut” Ginnie Mae employee Sandra Dixon’s testimony

with an “FBMC” annual approval recertification form (ground #23, ¶ 9);

      6. Failure to impeach Sandra Dixon with the out of court statement of

Ginnie Mae employee Mike Garcia that manufactured housing loans could

be pooled “so long as those homes are stick built and [ ] permanent” and to

call Mike Garcia as a defense witness at trial (ground # 23, ¶¶ 10 & 13);




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         7. Failure to “state” facts at trial that would show that Petitioner acted

in good faith and that the Government failed to prove she acted with

specific intent or willful blindness of the facts (ground # 23, ¶ 12);

         8. Failure to impeach Eric Brown’s testimony concerning his dealings

with co-defendants James McLean and Debbie Zimmerman (ground # 23,

¶ 14);

         9. Failure to raise prosecutorial misconduct at trial - i.e., that the

prosecutors knew “a lot of government witnesses testified falsely” and

failed to correct them (ground #23, ¶ 17); and

         10. Failure to request “an evidence hearing” in order to have the

testimony of Eric Brown and Woodrow Moore “suppressed” (ground #23, ¶

19).

         F. Failure to argue that Petitioner was legally innocent in light of

United States v. Santos, 128 S. Ct. 2020 (2008);

         G. Complaints concerning appellate presentation, strategy and

argument, including:

         1. Failure to raise sufficiency of the evidence and Petitioner’s lack of

criminal knowledge and specific intent (ground # 23, ¶ 4; also alleged in

ground #’s 13-21); and




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      2. Failure to correct or “rebut” certain “misleading” statements in the

Government’s brief (ground #23, ¶¶ 11& 15).

      When alleging a claim of ineffective assistance of counsel, a

petitioner must show that counsel's performance was constitutionally

deficient to the extent it fell below an objective standard of reasonableness,

and that she was prejudiced thereby. Strickland v. Washington, 466 U.S.

668, 687-91 (1984). In making this determination, there is a strong

presumption that counsel's conduct was within the wide range of

reasonable professional assistance. Id. at 689; see also Fields v.

Attorney Gen’l. of Md., 956 F.2d 1290, 1297-99 (4th Cir. 1985); Hutchins

v. Garrison, 724 F.2d 1425, 1430-31 (4th Cir. 1983); Marzullo v.

Maryland, 561 F.2d 540 (4th Cir. 1977). It should be noted that “effective

representation is not synonymous with errorless representation,” and “the

Constitution entitles a criminal defendant to a fair trial, not a perfect one.”

Springer v. Collins, 586 F.2d 329, 332 (4th Cir. 1978); Delaware v. Van

Arsdall, 475 U.S. 673, 681 (1986).

      To demonstrate prejudice, Petitioner must show a probability that the

alleged errors worked to her “‘actual and substantial disadvantage,

infecting [her] trial with error of constitutional dimensions.’” Murray v.



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Carrier, 477 U.S. 478, 494 (1986) (quoting United States v. Frady, 456

U.S. 152, 170 (9182)). Under these circumstances, Petitioner “bears the

burden of proving Strickland prejudice.” Fields, 956 F.2d at 1297 (citing

Hutchins, 724 F.2d at 1430-31). Therefore, if Petitioner fails to meet this

burden, a “reviewing court need not consider the performance prong.” Id.

at 1290 (citing Strickland, 466 U.S. at 697).



A. Constructive Amendment

      Petitioner’s first ineffective assistance of counsel claim alleges her

attorney failed to object at trial and pursue on appeal the “constructive

amendment” to the superseding indictment. In her affidavit, Petitioner’s

counsel states that she did not raise these objections because they are not

supported by law. Exhibit 1, Affidavit of Claire J. Rauscher, attached to

Respondent’s Answer, filed July 11, 2007, ¶ 2.

      “Constructive amendment” occurs when the government, through its

presentation of evidence and/or arguments, or the court, through its

instructions to the jury, broadens the bases for conviction beyond those

charged in the indictment. United States v. Randall, 171 F.3d 195, 203

(4th Cir. 1999). “A constructive amendment is a fatal variance because the



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indictment is altered ‘to change the elements of the offense charged, such

that the defendant is actually convicted of a crime other than that charged

in the indictment.’” Id. (citing United States v. Schnabel, 939 F.2d 197,

203 (4th Cir. 1991)). However, not all differences between an indictment

and proof at trial rise to the level of a “fatal variance” or constructive

amendment. Id. When different evidence is presented at trial than

specified in the indictment, but such evidence does not otherwise alter the

crime charged in the indictment, a mere variance occurs. Id. A mere

variance does not violate a defendant’s Constitutional rights unless it

prejudices the defendant, either hindering the preparation of her defense or

by surprising her at trial or exposing her to the risk of a second prosecution

for the same offense. Id.

      Petitioner contends that this Court impermissibly “broadened” the

offense charged in the indictment through instructions on “aiding and

abetting,” “knowingly and intentionally,” and “willful blindness” and that the

Government presented evidence beyond that noticed in the indictment.

Petitioner contends that the Court amended Counts 37 through 52

charging that she made and passed false mortgage notes when it

instructed the jury on aiding and abetting. Petitioner claims that this



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expanded the indictment because aiding and abetting did not appear in

these counts.

     First, a review of the superseding indictment reveals that Counts 37

through 52 were preceded and followed by specific citation to 18 U.S.C. §

2, the aiding and abetting statute. Superseding Indictment, at 21-23.

Therefore, Petitioner cannot claim that she was surprised or prejudiced by

the Court’s instruction on aiding and abetting. Next, aiding and abetting is

implied in every federal indictment of a substantive offense. See United

States v. Armstrong, 909 F.2d 1238, 1241 (9th Cir. 1990). Indeed, “‘in

keeping with the provisions of [18 U.S.C.] § 2, it has long been held that an

indictment need not specifically charge ‘aiding and abetting’ or ‘causing’

the commission of an offense against the United States in order to support

a jury verdict based on the finding of either.” Id. (quoting United States v.

Lester, 363 F.2d 68, 72 (6th Cir. 1966)).

     Next, the Court’s instructions on “knowing,” “willful blindness” and

“specific intent” did not “broaden” the charged offenses just because those

words were not alleged in the indictment. Indeed, each of the offenses that

Petitioner now claims were constructively amended tracked the language

of the statute charged. Counts 37 through 52 used the words “with intent



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that false mortgage notes be offered to, or accepted by, HUD for

insurance” and they were made, passed or uttered by the defendants

“knowing that they were materially false.” Superseding Indictment,

supra. The Court’s instructions on these offenses necessarily included the

words “knowing,” “intentional,” and “material.”4 Similarly, the law does not

require that the words “willful blindness” appear in the charged offenses

before the Court may instruct on how this legal doctrine might apply to the

facts of this case. Indeed, in this case, the Fourth Circuit specifically held

that the willful blindness instruction was proper. McLean, 131 F. App’x at

38-39.

      Petitioner has not established that counsel was deficient in failing to

raise a constructive amendment claim with respect to the Court’s

instructions at trial or on appeal. Therefore, this claim of ineffective

assistance of counsel must fail.

      Petitioner also argues that the Government’s evidence broadened

the charged offenses. Petitioner appears to argue that any evidence that

deviates from the specific allegations in the charged offense is not


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        Petitioner makes similar claims with respect to Counts 2-21 (alleging
wire fraud); 52-53 (alleging bank fraud); and 55-66 (alleging money
laundering).


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permitted. Petitioner relies on Stirone v. United States, 361 U.S. 212, 218-

219 (1960), in support of her claim. In Stirone, the Government charged

the defendant with violating the Hobbs Act by misusing his position as a

labor union official to obstruct interstate commerce, specifically the

movement of sand used in mixing concrete. Id. at 214. At trial, the

Government also proved that the defendant’s activities affected interstate

commerce because the concrete was used to construct buildings in which

steel was manufactured for interstate shipment. Id. The district court

instructed the jury that they could find the defendant guilty if they found

either basis for the interstate element – i.e., the interstate movement of

sand or the use of concrete to build steel plants. Id. In reversing the

defendants convictions, the Supreme Court held that the indictment could

not “fairly be read” as charging interference with interstate commerce

through the movement of steel. Id. at 217.

      Petitioner’s case is distinguishable from the Stirone. Here, the

superseding indictment charged a broad scheme to defraud Fannie Mae,

Ginnie Mae and BB&T, as well as investors in the secondary mortgage

market. In Counts Two through Ten, the indictment charged Petitioner and

her co-defendants with devising a scheme to defraud Fannie Mae which



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was executed through the use of interstate wire transmissions, that is, the

transfer of funds from Fannie Mae to FBMC’s bank account. Superseding

Indictment, ¶¶ 50-52. However, the introductory paragraphs of the

superseding indictment as well as Count One (overarching conspiracy

allegation) are specifically incorporated into Counts Two through Ten by

reference. Id. ¶ 50. Paragraphs 12 through 14 and 22 of Count One

allege the defendants made and sold 31 false mortgage notes to Fannie

Mae. Contrary to Petitioner’s argument in ground #2, the indictment did

allege that she and her co-defendants made false mortgage notes and

assignments. Unlike Stirone, the Government’s evidence at this trial did

not introduce a new theory with respect to an element of the charged

offense. Instead, the evidence offered at trial tracked the indictment and

proved Petitioner’s guilt on the charged offense beyond a reasonable

doubt.5 See United States v. Ward, 486 F.3d 1212, 1228 (11th Cir. 2007)

(indictment alleging mail fraud and wire fraud counts was not




     5
        Petitioner raises similar claims with respect to Counts 22 through 32
(False statements) and 55 through 66 (money laundering). A fair reading
of the indictment with respect to these counts shows that Petitioner’s
constructive amendment arguments are also without merit.


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constructively amended by incorporation of a charged conspiracy by

reference.).

      Petitioner also alleges that the Court’s admission of evidence of

Ginnie Mae’s loss was improper since loss is not an element of 18 U.S.C.

§ 1010, and relies on United States v. Farrington, 389 F.2d 357 (6th Cir.

1968), to support this argument.

      In the instant case, the Government did not introduce evidence of

how much money Ginnie Mae lost due to FBMC’s fraud. Instead, the

Government offered evidence of how much money Ginnie Mae reimbursed

Market Street – the loan servicer who took over FBMC’s loans. The trial

testimony concerned loans for which Market Street could not collect past

due payments or find collateral to foreclose. Trial Transcript, Vol. IV,

filed February 18, 2004, at 1084-91. This evidence was relevant to rebut

the defendants’ claim that they did not knowingly commit fraud, but instead

made manufactured home loans which were authorized by Ginnie Mae.

The testimony was also offered to prove that the loans affected HUD.

Market Street’s representative testified that it could not collect on most

FBMC loans because it could not locate many of the borrowers named on

the loans issued by FBMC and found “bad addresses” when they tried to



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foreclose on the collateral listed on FBMC loan documents. Id. at 1091-93.

Moreover, Market Street’s testimony that Ginnie Mae paid out over $23

million by the time of trial was relevant to the charged conspiracy and

money laundering counts.

      In Farrington, the defendant was charged only with presenting HUD

with false completion certificates for home repairs, for which loss amount

was not relevant. Therefore, Farrington is distinguishable from the instant

case and does not support Petitioner’s claim that her counsel was

ineffective for not objecting to the Court allowing the alleged improper

admission of evidence regarding loss. Moreover, Petitioner has not

established that her counsel was deficient for failing to object to the

admission of evidence regarding loss as is required under Strickland.

      Finally, in her amendment to ground # 2, Petitioner contends that the

testimony from Willie Simpson, an FBMC employee whose duties included

monitoring FBMC employees and visitors through video and audio

surveillance, impermissibly broadened the indictment because it suggested

an illegal wire tap in violation of 18 U.S.C. § 2511.

      This argument is totally without merit. First, there was no allegation

that the surveillance system was illegal since it was company policy and



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was known to the employees. Second, the surveillance system was

intrinsic to the offenses in that the McLeans recorded themselves and their

employees in the act of committing offenses alleged in the indictment.

      Petitioner has not established that her counsel was deficient for

failing to object to the evidence presented at trial which she claims

improperly broadened the charged offenses. Petitioner has not

established either prong of the Strickland test and, therefore, her claim of

ineffective assistance of counsel must fail.



B. Defective Indictment

      Petitioner contends that her counsel was ineffective for failing to

object at trial and raise on direct appeal that the indictment was defective.

Specifically, Petitioner contends that Counts 2 through 21, which allege

wire fraud against Fannie Mae and Ginnie Mae and aiding and abetting in

violation of 18 U.S.C. §§ 1343 and 2, are defective for failing to allege that

the “representations, statements or omission in the wire communication

were material to the scheme or artifice [to defraud].” Petitioner contends

that Counts 37 through 52, alleging the making and passing of counterfeit

mortgage notes in violation of 18 U.S.C. § 1010, are defective because



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they fail to include the words “aiding and abetting” and “knowingly and

intentionally.” Petitioner contends that Counts 53 through 54, the bank

fraud charges, are defective for failing to allege “material;” and that Counts

55 through 66, the money laundering charges, are defective for failing to

allege “knowingly and intentionally.”

      It seems Petitioner believes that the quoted words above must be

stated in the indictment because the Court used them in its charge to the

jury. Petitioner misunderstands the law.

      An indictment must contain the elements of the offense charged and

fairly inform the defendant of the charge against her and must enable her

to an acquittal or conviction in bar of future prosecutions for the same

offenses. Hamling v. United States, 418 U.S. 87, 117 (1974). It is

generally sufficient that an indictment set forth the offense in the words of

the statute itself as long as those words are unambiguous and set forth all

of the elements of the offense charged. Id.

      In this case, each of the Court’s instructions challenged by Petitioner

tracks the language of the statute. Indeed, Counts 2 through 21, the wire

fraud counts, allege the defendants “did knowingly and willfully devise and

intend to devise a scheme and artifice to defraud” and to obtain money and



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property by means of “material false and fraudulent pretenses.” Counts 37

through 52 allege the named defendants made and passed counterfeit

mortgage notes “knowing them to be false” and “counterfeited.” Counts 53

and 54, the bank fraud counts, allege that the McLeans and Gess “did

knowingly execute and attempt to execute a scheme and artifice to defraud

BB&T.”6 Finally, Counts 55 through 66, the money laundering counts,

state that McLean and her husband James, aided and abetted each other,

“knowingly” conducted or “willfully” caused another to conduct certain

financial transactions when they “knew” said transactions involved the

proceeds of specified unlawful activities, intending that the transactions

would promote the mortgage fraud scheme described throughout the

introductory paragraphs and Count One of the indictment. Superseding



      6
        With respect to Counts 53 and 54, the Court properly instructed the
jury that the misrepresentations to BB&T must be “material” even though
the statute does not include that word. See United States v. Neder, 527
U.S.1, 20 (1999) (holding that materiality is an element of a scheme or
artifice to defraud under the mail, wire and bank fraud statutes). In
Neder, the Supreme Court found that under the common law, a conviction
for “fraud” required proof of materiality. However, just as the Supreme
Court has held that the words “obscenity” and “attempt” do not require
further explanation in an indictment, neither does “fraud” require the
allegation of materiality to satisfy constitutional requirements. See United
States v. Wicks, 187 F.3d 426, 427 (4th Cir. 1999); Cf. Hamling, 418 U.S.
at 117; United States v. Resendiz-Pounce, 549 U.S. 102, 104 (2007).


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Indictment, supra. While the Court‘s instructions may have included

different words to explain the required scienter to the jury, it does not mean

the indictment was defective. The indictment in this case passes

constitutional muster in that it was sufficient to put the defendants on

notice of the offenses charged and to bar any future prosecutions from the

same crimes. Therefore, counsel was not deficient for failing to raise a

defective indictment claim at trial or on appeal. Moreover, even if this

Court were to assume the indictment was in some manner deficient, which

it does not, Petitioner has not established prejudice as each count of the

indictment contained a reference to the statute charged in its caption and

in the body of the charge itself. See United States v. Roberts, 296 F.2d

198, 200 (4th Cir. 1961).

      Petitioner has not established either prong of the Strickland test,

therefore, her claim that her counsel was ineffective for failing to raise a

claim that the indictment was defective must fail.



C. Multiplicious Indictment

      Petitioner contends counsel was ineffective for failing to object to

Counts 9 and 10, 37 through 39, 40 and 41, 43 and 44, 46 and 47, and 48



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through 52 because they are multiplicious. Petitioner contends that Counts

9 and 10 are multiplicious because the loans secured by the two

addresses in those Counts were sold to Fannie Mae under the same

contract. She claims that Counts 37 through 39, 40 and 41, 43 and 44, 46

and 47, and 48 through 52 are multiplicious because the counterfeit

mortgage notes alleged separately in each of these counts were sold to

Ginnie Mae investors in the same pools.

     Multiplicity is defined as “charging a single offense in more than one

count in an indictment.” United States v. Lemons, 941 F.2d 309, 317 (5th

Cir. 1991). In Lemons, the defendant claimed that a series of transactions

charged under separate counts of bank fraud in violation of 18 U.S.C. §

1344 constituted a single scheme to defraud. The court agreed with the

defendant because the bank fraud statute, unlike the mail and wire fraud

statutes, punishes “execution” of a scheme to defraud, whereas the mail

and wire fraud statutes expressly punishes separate acts in execution of a

scheme to defraud. Id. at 318. Thus, each separate use of wire

communications constitutes a separate offense even if the defendant is

engaged in a single scheme to defraud. United States v. Butler, 704 F.

Supp 1338, 1343 (E.D. Va. 1989) (citing United States v. Muni, 668 F.2d



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87 (2d Cir. 1981); United States v. Calvert, 523 F.2d 895 (8th Cir. 1975),

aff’d, 90-5 F.2d 1532 (4th Cir. 1990); United States v. Locklear, 829 F.2d

1341, 1318-19 (4th Cir. 1987)).

      In this instant case, Count 9, alleging a violation of 18 U.S.C. § 1343,

charged that the defendants caused Fannie Mae to wire a payment to

FBMC on October 1, 1998, for purposes of a fraudulent loan purportedly

secured by a residence located at 9101 Crosstimbers. Count 10 charged

that the defendants caused a separate wire transfer on October 5, 1998,

for the purchase of a different fraudulent loan purportedly secured by a

residence at 9001 Penstemmons. These separate wire transactions were

supported at trial by copies of the bank’s records. Whether or not the two

fraudulent loans were sold to Fannie Mae in a single transaction, as

Petitioner claims, is not relevant, so long as she and/or her co-defendants

caused separate wire transactions for each loan. See Butler, 704 F. Supp

at 1344.

      Counts 37 through 52 charge that the defendants made, passed and

uttered different counterfeit mortgage notes. Title 18 U.S.C. § 1010

punishes “whoever . . . makes, passes [or] utters . . . any statement,

knowing the same to be false . . .or counterfeits any instrument . . . or



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utters, publishes, or passes as true any instrument, paper, or documents,

knowing it to have been . . . counterfeited.” Each of Counts 37 through 52

then specifically describes different promissory notes that were “made,

passed or uttered” on different occasions. Like the wire fraud statute, it is

clear from the statute that Congress intended that the making of each false

or counterfeit document would constitute a separate violation of the law.

See Bins v. United States, 331 F.2d 390, 392 (5th Cir. 1964) (“The

essence of a violation of [§ 1010] is the uttering and publishing of

false documents with intent to influence [HUD].”).7

      At trial, the Government established that Petitioner was the person

who directed her assistant, Shandra Wright, to type the fraudulent notes

from lists of properties that she and the Zimmermans provided. Trial

Transcript, Vol. II, filed February 18, 2004, at 497. The notes were

counterfeit because the names on the loans were not the names of true

borrowers and the properties listed were not residences that would be




      Petitioner relies on this case in support of her claim that Counts 37
      7


through 52 are duplicitous. The Court notes that, unlike the facts in Bins
where more than one false statement was alleged in a single count, in this
case, Counts 37 through 52 allege only one false mortgage note each.


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occupied by the named borrowers. Petitioner “passed” the notes by

forwarding them to the document custodian at BB&T.

      There is no legal or factual basis to support Petitioner’s claim that

any of the counts in the indictment were multiplicious. Therefore, her claim

that her counsel was ineffective for failing to raise this issue at trial and on

appeal must fail.



D. Duplicitous Indictment

      Next, Petitioner contends counsel was ineffective for failing to

challenge various counts in the indictment as duplicitous. Petitioner’s

duplicity claims appear to fall into two categories: (1) single counts that

allege the submission of more than one HUD form (counts 11-21 and 22-

32), and (2) single counts that allege more than one means of committing

the same offense (counts 37-52).

      “Duplicity is the ‘joining of two or more offenses in a single count.’”

United States v. Toliver, 972 F. Supp 1030, 1039 (W.D. Va. 1997)

(quoting United States v. Marshall, 75 F.3d 1097, 1111 (7th Cir. 1996)).

Where a statute provides more than one means of committing the same

offense, the policy against duplicity does not prohibit the Government from



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charging more than one of those means in the conjunctive, in one count.

United States v. Griffin, 502 U.S. 46, 50-51 (1991); see also, Fed. R.

Crim. P. 7(c) (a single count may allege that a defendant committed an

offense by one or more means). Further, the policy against duplicity

does not prevent an indictment from alleging more than one act in a single

count if the acts are part of a continuous course of conduct. See United

States v. Smith, 373 F.3d 561, 563-64 (4th Cir. 2004).

     Counts 11 through 21 and 22 through 32 each allege an offense with

respect to different mortgage pools. Because both HUD forms 11705 and

11706 are required to issue a single Ginnie Mae certificate and

corresponding pool, Counts 11 through 21 and 22 through 32 allege a

continuous course of conduct and are not duplicitous. Id. The trial

testimony confirmed that Ginnie Mae’s representative, Chase Manhattan

Bank, must receive both forms before it will allow an issuer such as FBMC

to issue a Ginnie Mae mortgage-backed certificate and collect the

investors’ funds. See, Theodore Foster Testimony, Trial Transcript,

Vol., filed February 18, 2004, at 209-17; Wade Gayle Testimony, Trial

Transcript, Vol. III, at 752-56. It is simply not relevant when or how these

forms were submitted to Ginnie Mae since both were required before



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FBMC could receive funds for the fraudulent mortgages it pooled. Further,

there was no possibility of juror confusion as each count applied to only

one mortgage pool. None of the mortgage pools in Counts 11 through 21

and 22 through 33 could have been issued without both HUD forms.

Therefore, there was no possibility that she could have been convicted or

acquitted on one form, but not the other.

     Next, Counts 37 through 52 allege the making and passing of false

statements and counterfeit mortgage notes to HUD in violation of 18

U.S.C. § 1010. Section 1010 of Title 18 is comprised of several operative

clauses in the disjunctive. See United States v. Jenkins, 785 F.2d 1387,

1391 (9th Cir. 1986). It is a regular and permitted practice for prosecutors

to charge conjunctively, in one count, the various means of committing a

statutory offense, which means are listed disjunctively. Griffin v. United

States, 502 U.S. 46, 51 (1991). Each of Counts 37 through 52 allege

three different ways in which the defendants violated § 1010 by making,

passing or uttering a separate mortgage note. The three different means

track the language of the statute and are alleged in the indictment in the

conjunctive. The test for determining whether a count alleges different

means of violating the same statute or several offenses is to examine



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whether identical evidence will support each of the different means. Bins,

331 F.2d at 392. In Bins, the indictment charged in a single count that the

defendant violated § 1010 by making false statements in three different

documents, dated on different days. The court found these counts to be

duplicitous because they obviously require proof of different facts – i.e.,

that different forms were submitted on different dates. However, the three

different means of violating § 1010 alleged in the instant case require proof

of the same facts – i.e., that the single mortgage note described in each of

Counts 37 through 52 was false when it was made, passed, uttered or

counterfeited on a single date.

      There is no legal or factual basis to support Petitioner’s claim that

any of the counts in the indictment were duplicitous. Therefore, Petitioner

cannot satisfy either prong of the Strickland test. Petitioner’s claim that her

counsel was ineffective for failing to raise this issue at trial and on appeal

must fail.



E. Ineffective Assistance of Counsel Claims Regarding Trial Strategy

      Petitioner asserts a litany of ineffective assistance of counsel claims

regarding counsel’s trial strategy. These claims amount to nothing more



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than second-guessing a trial strategy Petitioner approved. Indeed, in her

affidavit, counsel states in response to the allegations in paragraphs 11

and 12 of Ground 23 that “all arguments made at trial comported with the

trial strategy and were discussed with Mrs. McLean.” Rauscher Affidavit,

¶ 5. “A decision consistent with a reasonable trial strategy cannot support

a claim of ineffective assistance of counsel.” Strickland, 466 U.S. at 689.

Petitioner’s trial strategy was to convince the jury that despite her position

as an officer of FBMC, “she had no real input into how FBMC was run, that

her husband exercised substantial control over her employment activities,

and that she merely followed his directives.” McLean, 131 F. App’x at 39.

As Rauscher’s affidavit shows, it was not part of the strategy to introduce

documents such as FBMC’s annual recertification forms and to call

witnesses such as Keith Jeffries or Mike Garcia. See Rauscher Affidavit,

¶¶ 3, 4, 6. Such would have only highlighted Petitioner’s position in the

company and undermined her purported “reliance” on her husband’s

interpretation of Fannie Mae and Ginnie Mae rules and policies.

      In evaluating Petitioner’s post-trial grievances, it is important to put

them into context with the rest of the evidence admitted at trial. Although

Petitioner chose not to testify, her husband did testify and raised many of



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the points she now contends were omitted through her counsel’s alleged

ineffective representation. In addition, James McLean admitted and/or

testified about many of the documents and witnesses Petitioner claims her

counsel was negligent in admitting. On most of these points, James

McLean reinforced Rauscher’s argument that his wife was not in a position

to know about the documents or testimony she now claims were critical to

her defense.

      First, Petitioner contends that her counsel failed to present FBMC’s

HUD application and approval to issue Title I manufactured home loan

guarantees. James McLean stated on direct examination that he

submitted a Title I application to Ginnie Mae that allowed “me to do

manufactured housing, modular homes, mobile homes, home only and

homes without land.” Trial Transcript, Vol. V, at 1221. However, he also

admitted he did not have a copy of the application. Id. at 1305-06.

Further, Ginnie Mae account executive Sandra Dixon testified on rebuttal

that she had examined FBMC’s issuer file and there was no such

application in the file. Trial Transcript, Vol. VI, at 1642. Petitioner’s

counsel cannot be deficient for failing to introduce a document that did not




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exist. Petitioner has not established that her attorney’s performance was

deficient. Therefore, this claim is dismissed.

      Next, Petitioner contends that her counsel was ineffective for failing

to present the business plan and loan requests that FBMC submitted to

BB&T. A review of the trial transcript reveals that former loan officer, John

P. Ellis, testified at trial that at one time James McLean “was looking for a

line [of credit] to basically fund closings for mobile homes, modular homes

that were not affixed to property,” but that BB&T did not agree to fund such

closings. Trial Transcript, Vol. IV, at 904. On cross-examination by

Petitioner’s counsel, Ellis testified that he only had discussions with James

McLean regarding FBMC’s line of credit. Id. at 910-11. On cross-

examination by Petitioner’s counsel, James McLean stated that it was his

decision to make his wife a signatory on FBMC’s bank accounts and that

she wrote checks and sent wires at his direction. Trial Transcript, Vol. V,

at 1339-40. Therefore, it is clear that the fact that BB&T had some

discussions with FBMC about a construction line of credit was introduced

at trial. Counsel was not deficient for failing to introduce a business plan or

loan requests because it runs counter to Petitioner’s trial strategy that “she

had no real input into how FBMC was run, that her husband exercised



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control over her employment activities, and that she merely followed his

directives.” McLean, 131 F. App’x at 39.

     Petitioner also alleges that her counsel was ineffective for failing to

impeach former FBMC employee Sharon Abrams with evidence that she

had access to HUD manuals, regulations and forms via the Internet. This

claim is without merit; James McLean testified in his direct examination

that all FBMC employees had ready access to Fannie Mae and Ginnie Mae

manuals via the internet at their desks and that such materials were

available “on websites offered to the public.” Trial Transcript, Vol. V, at

1237. Further, Abrams testified that she reviewed at least one mortgage

loan source at FBMC - the Federal Housing Administration (FHA) - whose

materials warned “straw borrowers schemes” are illegal. Trial Transcript,

Vol. II, at 397. Therefore, Petitioner has not established deficiency or

prejudice for her counsel’s failure to impeach Sharon Abrams.

     Next, Petitioner contends that her counsel was ineffective for failing

to impeach former FBMC underwriter and co-defendant Richiedean Gess

with the statements of former FBMC employee Keith Jeffries and other

FBMC underwriters who had approved FBMC’s “construction loan

program” and to call Keith Jeffries as a defense witness at trial. However,



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once again, Petitioner cannot establish any prejudice. The record reveals

that on cross-examination by the Government, James McLean – who was

himself an FHA certified underwriter – testified he had consulted

Richiedean Guess about FBMC’s “investor program” initially when the

loans were sold to Fannie Mae, but not when they were pooled as Ginnie

Mae certificates. Trial Transcript, Vol. V, at 1322. According to his

interview with HUD agent John Gervino, Keith Jeffries left FBMC in 1996

and was not rehired until May 2000, well after defendants began selling

their bogus loans in 1998. See Exhibit 21, December 10, 2000,

Memorandum of Interview, attached to Respondent’s Answer. James

McLean further testified that two other FBMC employees – Melissa Lawler

and Sharon Abrams – did not become certified underwriters until 1999.

Trial Transcript, Vol. V, supra. Finally, trial counsel knew from the

memorandum of Keith Jeffries’ interview, provided to her in discovery, that

if she called Jeffries to testify, he would also say that “Macy McLean . . .

controlled the funding of FBMC and she would not permit anyone else to

control the funding of FBMC.” Exhibit 21, supra. Therefore, Jeffries’

testimony would not have advanced but would have served as a detriment




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to Petitioner’s trial strategy. Petitioner has not established either prong of

Strickland and her claim of ineffective assistance of counsel must fail.

      Petitioner next contends that her counsel was ineffective for failing to

rebut the testimony of Ginnie Mae employee Sandra Dixon with an FBMC

annual approval recertification form. Once again, a review of the record

reveals that Petitioner suffered no prejudice from her counsel’s alleged

failure. Indeed, Sandra Dixon, a Ginnie Mae account executive, testified

on rebuttal for the Government that the “mobile” and “manufactured

housing” blocks on FBMC’s application to become a Ginnie Mae issuer

were not checked, she never told James McLean that it was permissible to

pool manufactured home loans, and that Ginnie Mae last accepted such

loans in the mid-1980's. Trial Transcript, Vol. VI, at 1641-43. On

redirect, the Government showed Dixon FBMC’s annual verification reports

for 1997 and 1998, which had previously been admitted into evidence as

James McLean’s exhibits 1 and 2. Id. at 1645. Dixon testified these were

not Ginnie Mae forms. Id. It is clear that Petitioner’s counsel had nothing

to gain from further cross-examination of Dixon. Petitioner has not

established deficiency or prejudice as is required by Strickland.




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      Next, Petitioner contends that her counsel was ineffective for failing

to impeach Sandra Dixon with the out-of-court statement of Ginnie Mae

employee Mike Garcia that manufactured housing loans could be pooled

“so long as those homes are stick built and [ ] permanent” and to call Mike

Garcia as a defense witness at trial. Here, once again, Petitioner cannot

establish either prong of the Strickland test. Mike Garcia, a Ginnie Mae

account executive, told FBI agents in a telephonic interview that he

recalled being asked by other Ginnie Mae employees, including Ingrid

Ripley, about the appropriateness of placing manufactured housing loans

into single family mortgage pools. Garcia told the FBI agents that such

homes could be placed in a Ginnie Mae pool only if they were “stick-built

and are permanent.” Ingrid Ripley testified on rebuttal that her notes

reflect a call from James McLean on May 11, 2000, in which he asked a

similar question about manufactured housing loans. Id. at 1647. Ripley

testified she told James McLean that the loans would have to be approved

as FHA Title I for at least two years or, if pooled as FHA Title II loans –

which are single family residences – the property had to be deeded with

the structure and land. Id. at 1648. Since Ripley testified to essentially the




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same information from Garcia, the failure to use the statements of Garcia

did not prejudice Petitioner.

      Petitioner next argues that her counsel was ineffective for failure to

state facts at trial that would show Petitioner acted in good faith and that

the Government failed to prove that she acted with specific intent or willful

blindness of the facts. This claim has absolutely no merit. Indeed,

counsel’s entire defense strategy was designed to show that Petitioner was

a full-time mother of six children who worked at FBMC part-time and had

only limited duties at FBMC. Counsel made a motion for judgment of

acquittal on these grounds at the close of the Government’s evidence and

again at the close of all evidence. Trial Transcript, Vol. V, at 1171-80.

Throughout her closing argument, Petitioner’s counsel vigorously argued

that the burden of proving the absence of good faith was on the

Government; that Petitioner’s job at FBMC was to fund loans; that

Petitioner relied on others at FBMC with more mortgage loan experience;

and that Petitioner did not know that what she was doing was illegal.

Transcript of Closing Arguments, at 48-50. Further, as for the specific

intent, counsel argued to the jury, “[the government] also has to prove that

[Mrs. McLean] was willful. That refers to an act committed by an accused



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person voluntarily with knowledge that it was prohibited by law and with the

purpose of violating the law.” Id. at 51. It is clear from the record that trial

counsel did, in fact, argue that the Petitioner acted in good faith and that

the Government failed to prove that Petitioner’s actions were wilful.

Petitioner has simply failed to establish that counsel was deficient with

respect to this claim. Indeed, the Fourth Circuit specifically noted in its

opinion denying Petitioner’s direct appeal, “throughout the trial, [Petitioner]

continually contested that she did not know or intentionally attempt to

defraud Fannie Mae, Ginnie Mae, or BB&T; that she did not ‘knowingly

make false entries [or] false statements;’ and that she did not ‘knowingly

launder money’ or ‘aid and abet [any] other in any criminal activity.’”

McLean, 131 F. App’x at 39 (quoting Appellants’ Brief at 29).

      As for her next claim, Petitioner contends her counsel was ineffective

for failing to impeach Eric Brown’s testimony concerning his dealings with

co-defendants James McLean and Debbie Zimmerman. Eric Brown

testified on direct examination that he and his father met with Debbie and

Paul Zimmerman and James McLean to discuss FBMC’s financing for

building a residential development of a track of land owned by their family.

Trial Transcript, Vol. IV, at 861-63. When presented with completed



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mortgage loan notes in the names of his family members by Debbie

Zimmerman, Mr. Brown and his father refused to sign until they could show

the documents to their attorney. Id. at 868. Debbie Zimmerman would not

permit Eric Brown leave the premises with the completed loan agreements.

Id. at 870. When James McLean arrived at the meeting, he also said the

notes could not leave the office, followed by, “Look, this – this is legal, but

it’s not really legal.” Id. at 871. Petitioner contends her counsel should

have cross-examined Eric Brown about specific facts. However, Eric

Brown did not testify that Macy McLean was present or even aware of the

meeting about which he testified. Additionally, the Court notes that the

other defense counsel, representing Petitioner’s co-defendants, did cross-

examine Eric Brown regarding his identification of their clients. Id. at 875-

88. Since Eric Brown never even mentioned Petitioner, her counsel’s

decision not to cross-examine him cannot be considered deficient.

Petitioner has not established either prong of the Strickland test and,

therefore, her claim must fail.

      In a related claim, Petitioner contends that her counsel was

ineffective for failing to request “an evidence hearing” in order to have the

testimony of Eric Brown and Woodrow Moore “suppressed.” As noted



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above, Eric Brown did not mention Petitioner in his testimony. The record

also reveals that Woodrow Moore likewise did not mention Petitioner in his

testimony. Instead the testimony of these witnesses concerned

transactions that occurred during the alleged conspiracy and involved the

same scheme to defraud. Counsel’s strategy in defending Petitioner was

to put as much distance between Petitioner and the operations of FBMC as

she could. Since neither witness ever mentioned Petitioner in their

testimony, it was not unreasonable for counsel not to object to their

testimony.

      Next, Petitioner contends that her counsel was ineffective for failing

to raise prosecutorial misconduct at trial. Petitioner contends that the

prosecutor knew “ a lot of the government witnesses testified falsely” and

failed to correct them. Petitioner contends the prosecutor suborned

perjured testimony from James Harvery Beatty,8 Sharon Abrams,

Richiedean Gess, Sandra Dixon and Eric Brown. She also alleges two


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       Petitioner alleges that Beatty perjured himself before the grand jury
when he testified that he made mortgage payments on an FBMC home
loan when other FBMC employes told the FBI that Beatty had not made
any payments on his loan. Defense counsel was provided with a transcript
in accordance with 18 U.S.C. § 3500. Since the issue at trial was that the
“loans” were bogus, whether or not Beatty made any payments was not
material.


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Brady9 violations with respect to FBMC’s HUD application and approval to

issue Title I manufactured home loan guarantees and a business plan and

loan request that FBMC submitted to BB&T. Finally, she argues that the

prosecutors made certain misleading statements in response to her direct

appeal to the Fourth Circuit.

      In order to establish a claim of prosecutorial misconduct, a defendant

must show that the alleged “conduct so infected the trial with unfairness as

to make the resulting conviction a denial of due process.” United States

v. Scheetz, 293 F.3d 175, 185 (4th Cir. 2002). Additionally, there is a two-

prong test for reversible prosecutorial misconduct. First the defendant

must show that the prosecutor’s remarks or conduct were improper.

Second, the defendant must establish that such remarks or conduct

prejudicially affected her substantial rights so to deprive her of a fair trial.

Id. “A defendant seeking to vacate a conviction based on perjured

testimony must show that the testimony was, indeed, perjured.” United

States v. Griley, 814 F.2d 967, 971 (4th Cir. 1987).

      Here, as discussed throughout this Order, Petitioner has not

established that any of the Government’s witnesses provided false


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          Brady v. Maryland, 373 U.S. 83 (1963).


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testimony. At most, she has shown minor inconsistencies between the

witnesses’ trial testimony and/or their prior statements to law enforcement.

“Mere inconsistencies in testimony by government witnesses do not

establish the government’s knowing use of false testimony.” Id. (citing

Overton v. United States, 450 F.2d 919, 920 (5th Cir. 1971)). Petitioner

has not established that any of these witnesses provided perjured

testimony. Therefore, she has also not established that her counsel was

ineffective for failing to raise this claim.

      Petitioner also claims that her counsel was ineffective for failing to

raise a Brady claim. Specifically, Petitioner contends that the prosecutor

acted improperly by failing to “[b]ring forth” two documents at trial: (1)

FBMC’s “application and letter for Title I approval” and (2) a business plan

and loan request that FBMC submitted to BB&T.

      In order to establish a Brady claim, a defendant must show that: (1)

the evidence must be favorable to the defendant, whether directly

exculpatory or of impeachment value; (2) it must have been suppressed by

the Government; and (3) it must be material. Spicer v. Roxbury Corr.

Inst., 194 F.3d 547, 555 (4th Cir. 1999).




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     Petitioner has not shown that the documents at issue ever existed.

Although James McLean testified that FBMC did, at one time, have a copy

of a Ginnie Mae application to pool manufactured home loans, Ginnie Mae

executive, Sandra Dixon, testified that she had never seen it and there was

no such document in FBMC’s file at Ginnie Mae. Trial Transcript, Vol. V

at 1221, Vol. VI at 1642. With respect to the business plan, James

McLean testified that BB&T loan officer John Ellis knew that FBMC was

funding “construction manufactured homes” with BB&T’s warehouse line of

credit. Trial Transcript, Vol. V, at 1325-26. However, John Ellis testified

that BB&T rejected James McLean’s proposal to have the bank fund

closings for mobile homes or construction loans. Trial Transcript, Vol. IV,

at 904-05. Neither stated that FBMC had submitted a formal written

business plan. Despite James McLean’s argument at trial, the

Government afforded defense counsel open file discovery of thousands of

pages of documents. Trial Transcript, Vol. V, at 1249-50.

     Next, Petitioner has failed to allege that these documents were

material to her defense. At trial, the Government established that the

defendants created and sold loans for which there were no real borrowers

and, except for a few, had no homes as collateral. Trial Transcript, Vol.



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IV, at 1073-81. However, whether or not the defendants believed they

could sell manufactured homes or construction loans was not a defense to

selling loans with no true borrower or collateral. The loans that were

pooled as Ginnie Mae securities and the loans that were funded with the

BB&T warehouse line of credit did not qualify as FHA single family loans,

Title I manufactured housing loans, or construction loans, because they

were not, in fact, loans. The notes sold by FBMC were instead worthless

paper designed to conceal defendants’ scheme to defraud.

      Petitioner has not established a Brady violation, therefore, she has

not established that her counsel was ineffective for failing to raise such a

claim.



F. Failure to Argue Petitioner was Legally Innocent in Light of United
States v. Santos, 128 S. Ct. 2020 (2008)

      In a brief filed on October 11, 2008, Petitioner filed an amended

claim in support of grounds 8, 17 and 23 in which she argues that her

counsel was ineffective at trial and on appeal for failing to argue that she

was legally innocent of the money laundering offenses based on the

reasoning of United States v. Santos, 128 S. Ct. 2020 (2008).




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        In Santos, the Supreme Court considered the question of whether

the term “proceeds” in 18 U.S.C. § 1956(a)(1), means “receipts” or

“profits.” The federal money laundering statute prohibits a number of

activities involving criminal “proceeds” but does not define “proceeds,” a

term that could either mean “receipts” or “profits.” Id. at 2023-24. In a 4-1-

4 decision, the four justices joining the plurality opinion held that the term

“proceeds” was ambiguous and, without legislative history adequate to

clarify its meaning, the plurality Justices applied the rule of lenity and held

that “proceeds” as used in § 1956(a)(1) means “profits,” not total “receipts,”

from the criminal activity conducted. Id. at 2025. Accordingly, “a criminal

who enters into a transaction paying the expenses of his illegal activity

cannot possibly violated the money-laundering statute, because by

definition profits consist of what remains after expenses are paid.” Id. at

2027.

        Justice Stevens concurred in the judgment, agreeing that with

respect to the gambling enterprise at issue in Santos, Congress has not

indicated its intent as to whether “proceeds” should be defined to include

all “receipts” or just the “profits.” Id. at 2032-33 (Stevens, J., concurring).

However, Justice Stevens declined to join the plurality in its holding that



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“proceeds” as used in § 1956 always means “profits” under the rule on

lenity. Id. Instead, Justice Stevens explicitly recognized that the term

“proceeds” could have a different meaning when referring to some

specified unlawful activities as opposed to other activities and that

“proceeds” should only be limited to “profits” under the rule of lenity where

there exists no indication of legislative intent as to whether Congress

intended the term to include the gross revenues of a particular unlawful

activity or restricted to its profits. Id.

      In the instant case, trial counsel was not ineffective for failing to

argue that Petitioner was legally innocent of money laundering at trial or on

appeal for several reasons. First, “there is no general duty on the part of

defense [or appellate] counsel to anticipate changes in the law.” Gov’t of

Virgin Islands v. Forte, 865 F.2d 59, 62 (3d Cir. 1989); see also

Randolph v. Delo, 952 F.2d 243, 246 (8th Cir. 1991) (ruling that trial

counsel was not ineffective for failing to raise Batson challenge two

days before Batson was decided); Johnson v. Armontrout, 923 F.2d

107, 108 (8th Cir. 1991) (“counsel’s failure to anticipate a change in

existing law is not ineffective assistance of counsel”); Kornaherns v.

Evatt, 66 F.3d 1350, 1360 (4th Cir. 1995) (“an attorney’s assistance is



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not rendered ineffective because he failed to anticipate a new rule of

law”). Next, Petitioner was involved in the type of specified unlawful

activity addressed in Santos and because Justice Stevens made clear his

agreement with the plurality was limited to that type of unlawful activity, an

argument related to “proceeds” as limited to “profits” in the mortgage fraud

context would have failed under Santos. See United States v. Howard,

309 F. App’x 760, 771 (4th Cir. 2009) (recognizing that Santos was

limited to the unlawful activity of gambling enterprises). Lastly, even if

Santos did apply to mortgage fraud schemes, the Government produced

ample evidence of both receipts generated from the scheme that were

used to promote further unlawful activity and profits used for the personal

expenses of Petitioner, her family, and friends. See e.g. Government

Trial Exhibits 50(a), 51(a)-(e), 65 (a)-(j); 62(a)-(b), 71. Therefore,

Petitioner was properly convicted of money laundering and she has not

established deficiency nor prejudice in connection with her ineffective

assistance of counsel claim.




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G. Claims of ineffective Assistance of Counsel on Appeal

      Lastly, Petitioner contends that her counsel was ineffective on appeal

because she failed to “state” that the evidence was insufficient to support

her convictions and to prove she acted with “specific intent” and “willful

blindness.” Petitioner also claims that her counsel was ineffective for

failing to argue on appeal that the Government misstated certain facts in its

brief to the Court.10

      Petitioner’s claim that counsel failed to raise sufficiency of the

evidence on appeal is without merit. Indeed, the Fourth Circuit held:

“Having reviewed the record of evidence in the light most favorable to the

government, we conclude there was ample evidence for a reasonable trier

of fact to have found defendants guilty beyond a reasonable doubt on each

count of conviction.” McLean, 131 F. App’x at 41. With respect to willful


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        Petitioner also alleges her counsel was ineffective for failing to raise
constructive amendment, defective amendment, multiplicity, duplicity and
prosecutorial misconduct on appeal. As addressed infra, Petitioner’s
claims are without merit. Therefore, raising these issues on appeal would
have been frivolous. Moreover, counsel is permitted wide latitude in
determining which claims are most likely to succeed on appeal and are,
therefore, worth bringing. See Jones v. Barnes, 463 U.S. 745, 751-52
(1983). Petitioner’s counsel was a zealous advocate at all stages,
including on appeal, and the record establishes that she raised what she
deemed to be the most meritorious issues on appeal. See McLean, 131 F.
App’x at 38.


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blindness, the Court found “there was evidence from which a jury could

have inferred that Macy McLean and the Zimmermans were aware or

closed their eyes to the fact that mortgage notes contained false

information; that no houses were being sold in connection with these loans;

and that “investors” were receiving money for signing and that they were

not going to be obligated under the note. This evidence would support an

inference of deliberate ignorance.” Id. at 39-40.

      Once an issue has been fully considered by an appellate court, the

defendant cannot re-litigate the issue before this Court under § 2255. See

Boechenhaupt v. United States, 537 F.2d 1182, 1183 (4th Cir. 1976).

Petitioner’s sufficiency of the evidence claim was raised on appeal,

therefore, she is foreclosed from re-litigating it in this Court.

      With respect to Petitioner’s claim that the her counsel failed to draw

the appellate court’s attention to improper Government statements in its

brief, Petitioner references the Government’s reference in its appellate

brief that “Macy McLean concedes that her husband avoided auditors,

mislead others . . . ” The Petitioner argues that this statement was made

by Petitioner’s counsel without her consent. Next, Petitioner complains

that the Government improperly argued that (a) appellants had “built only a



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dozen homes and sold none,” whereas she asserts that they had built

about 30 homes and sold at least five and (b) that Eric Brown testified that

“[James] McLean explicitly stated that his investor program was not really

legal,” whereas Eric Brown’s full testimony showed that James McLean’s

statement was “very ambiguous.” A review of these statements shows that

none of the statements were improper as they were supported by the

record and were fair comments on the evidence at trial. Therefore,

Petitioner has not established that her counsel was ineffective for failing to

raise these issues on appeal.



                             IV. CONCLUSION

      Petitioner has presented a laundry list of alleged errors at trial and on

appeal which she alleges constituted ineffective assistance of counsel.

The Court’s review of the record demonstrates that counsel was both

zealous and competent at all stages of Petitioner’s case. To the extent

Petitioner’s counsel was in any way deficient, Petitioner has not

established the prejudice required by Strickland. Consequently, all of

Petitioner’s ineffective assistance of counsel claims must fail.




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                               V. ORDER

     IT IS, THEREFORE, ORDERED that the Government’s motion for

summary judgment is GRANTED, and Petitioner’s motion to vacate, set

aside or correct sentence pursuant 28 U.S.C. § 2255 is DENIED.

     A Judgment dismissing this action is filed herewith.

                                     Signed: August 27, 2009




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